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		OSCN Found Document:IN THE MATTER OF THE REINSTATEMENT OF HOPLIGHT

					

				
  



				
					
					
						
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				IN THE MATTER OF THE REINSTATEMENT OF HOPLIGHT2018 OK 76Case Number: SCBD-6596Decided: 09/17/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 76, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



IN THE MATTER OF THE REINSTATEMENT OF: JACKLYNN GRACE HOPLIGHT TO MEMBERSHIP IN THE OKLAHOMA BAR ASSOCIATION AND TO THE ROLL OF ATTORNEYS.




ORDER


¶1 Petitioner, Jacklynn Grace Hoplight was stricken from the Roll of Attorneys for non-payment of dues and non-compliance with mandatory continuing legal education requirements on September 11, 2006. On November 22, 2017, Petitioner petitioned this Court for reinstatement as a member of the Oklahoma Bar Association. As required by Rule 11.3 of the Rules Governing Disciplinary Proceedings, 5 O.S. 2011, ch. 1, app. 1-A, hearings were held before the Trial Panel of the Professional Responsibility Tribunal on February 9, 2018, and February 28, 2018. The Oklahoma Bar Association supported Petitioner's application for reinstatement, and the panel subsequently recommended that Petitioner be reinstated. Upon de novo review of the record, we find:

1. Petitioner has met all the procedural requirements necessary for reinstatement in the Oklahoma Bar Association as set out in Rule 11, Rules Governing Disciplinary Proceedings, 5 O.S. 2001, ch.1, app. 1-A;

2. Petitioner has established by clear and convincing evidence that she has not engaged in the unauthorized practice of law in the State of Oklahoma;

3. Petitioner has established by clear and convincing evidence that she possesses the competency and learning in the law required for reinstatement to the Oklahoma Bar Association;

4. Petitioner has established by clear and convincing evidence that she possesses the good moral character which would entitle her to be reinstated to the Oklahoma Bar Association.

¶2 IT IS THEREFORE ORDERED that Jacklynn Grace Hoplight's Petition for Reinstatement be granted.

¶3 IT IS FURTHER ORDERED that Jacklynn Grace Hoplight shall pay the costs associated with this proceeding in the amount of $152.44.

DONE BY ORDER OF THE SUPREME COURT THIS 17th DAY OF SEPTEMBER, 2018.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







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